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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiffs,             )                    4:06CR3016
                                              )
              v.                              )
                                              )
ARMANDO GARCIA-DELACRUZ,                      )       ORDER ON AMENDED MOTION IN
                                              )                 LIMINE
                      Defendants.             )
                                              )


       IT IS ORDERED that, following a meeting with counsel before the beginning of trial on
February 5, the Amended Motion in Limine is denied, but it is ordered that none of the subjects
of the Amended Motion in Limine shall be raised before the jury without the judge’s permission.

       Dated February 5, 2007.

                                     BY THE COURT

                                     s/ Warren K. Urbom
                                     United States Senior District Judge
